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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                        )       CHAPTER 11
                                              )
ATLANTA LIGHT BULBS, INC.,                    )
                                              )       CASE NO. 22-52950-pmb
         Debtor.                              )

 RESPONSE OF JESSE ROOT TO MOTION OF TANDEM BANK TO DISMISS CASE

         COMES NOW Jesse Root, through his undersigned counsel, and files this response to the

Motion to Dismiss Bankruptcy Case (Doc. No. 23; the “Motion to Dismiss”) filed by Tandem Bank

on May 25, 2022, respectfully showing the Court as follows

                                              FACTS

   1. Jesse Root’s father, Gary Root, founded Atlanta Light Bulbs, Inc. (“ALB”) approximately

         41 years ago in 1981.

   2. ALB was a successful business for decades, with a large customer base and innovative

         products. ALB sold such products as specialty lamps, projector lamps, medical lamps,

         miniature lamps, light fixtures, and lighting installations, and moved into newer products

         such as LED lighting as they entered the market.

   3. In 1998, ALB launched a website, becoming one of the first companies in Atlanta to offer

         its inventory and services online.

   4. ALB has been known in the lighting industry for decades, including due to the participation

         of the Root family in industry groups. Gary Root served on various industry boards and

         committees over the years, including The National Association of Independent Lighting

         Distributors, where he served on the board from 2000 through 2006 and where he served

         as President from 2004 through 2005.



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   5. As ALB grew, it needed a larger facility and it moved in the early 1990s to a lighting

      showroom and warehouse space located at 2109 Mountain Industrial Boulevard, Tucker,

      Georgia (the “ALB Premises”)

   6. Jesse Root worked in the family business that his father had founded beginning in

      approximately 2008, moving from being an account manager, to a sales manager, to a co-

      owner and the Vice President of Sales who supervised all sales activity for ALB. Jesse

      Root also participated in industry events, and is known in the industry for seeking cutting

      edge solutions for customers.

   7. Gary Root died in 2017 after a hard battle with a long-term illness.

   8. After his father’s death in 2017, 50% of ALB was sold by Mr. Root’s brother to Jessica

      Mendoza (“Ms. Mendoza”) who became the CEO of ALB.

   9. In the capacity of also being a fifty percent (50%) owner of ALB, Jesse Root raised

      questions with Ms. Mendoza about how the finances of ALB were being handled and

      requested access to certain financial data that was not being provided by Ms. Mendoza. In

      response, Ms. Mendoza fired Mr. Root from ALB in 2021.

   10. Ms. Mendoza hired her boyfriend, Robert Taitz (“Mr. Taitz”), to work for ALB.

   11. Ms. Mendoza also hired her family members and/or Mr. Taitz’s family members to work

      for ALB.

   12. After Mr. Root’s termination from ALB, Mr. Root engaged legal counsel to assist in

      reviewing certain activities of Ms. Mendoza, Mr. Taitz, and ALB, including their uses of

      funds of ALB which had largely been concealed from Mr. Root despite his 50% ownership

      of the company.




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   13. Legal counsel engaged Mr. Bill Jennings (“Mr. Jennings”) to assist in that process. Mr.

      Jennings is a forensic accountant, certified fraud examiner, and private investigator, with

      over 40 years of experience in forensic investigations and fraud investigations.

   14. Mr. Jennings conducted an investigation and review of certain financial matters of Ms.

      Mendoza, Mr. Taitz, Mr. Root, and ALB. That process included reviewing certain financial

      records of ALB for transactions involving insiders of ALB.

   15. Mr. Jennings determined, based on somewhat limited data, that Ms. Mendoza was paid at

      least $556,000.00 by ALB during the time period from October 9, 2019 to August 16, 2021.

   16. Mr. Jennings determined, based on that same somewhat limited data, that Mr. Taitz was

      paid at least $1,271,323.00 by ALB during that same time period.

   17. Mr. Jennings is prepared to testify to his investigative process and his findings at a hearing

      on the Motion to Dismiss.

   18. Mr. Jennings determined, based on that same data, that Mr. Root had received only

      $110,000 from ALB during the same time period, despite being a full-time senior

      employee, the Vice President in charge of all sales, and a 50% owner of the company.

   19. During the same time period that Ms. Mendoza and Mr. Taitz took at least One Million

      Eight Hundred Twenty-Seven Thousand Three Hundred Twenty-Three Dollars

      ($1,827,323.00) out of ALB (and possibly more since complete records have not yet been

      obtained), they were not making necessary payments to Tandem Bank and to trade

      creditors. Tandem Bank ultimately sued ALB, and various trade creditors instituted this

      involuntary bankruptcy case.

   20. Mr. Root was financially harmed by the foregoing actions. Mr. Root had prepared a lawsuit

      against Ms. Mendoza, Mr. Taitz, and was considering including ALB in that Complaint



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      when Mr. Root learned of the filing of the involuntary bankruptcy case against ALB, for

      which reason he held off on filing his lawsuit.

   21. An unsecured creditors committee was appointed in this case very recently, on June 8,

      2022. That committee has only been in existence for a matter of days at this point.

      However, Mr. Root understands that the unsecured creditors committee intends to move

      quickly for appointment of a Chapter 11 Trustee.

   22. Mr. Root believes that ALB could be a successful business, under appropriate management,

      in light of its decades of experience in the lighting industry, its reputation in the industry

      (although now somewhat damaged by recent actions), and the relationships with customers

      and vendors that could be restored under proper management.

   23. If a Chapter 11 Trustee were to be appointed by the Court, Mr. Root is prepared to meet

      with the Chapter 11 Trustee and to assist him or her.

   24. Tandem Bank claims a first-position security interest on substantially all property of ALB.

      If the Motion to Dismiss is granted, Tandem Bank would be able to pursue non-bankruptcy

      collection remedies against ALB that would likely result in the cessation of all business of

      ALB.

   25. Undersigned counsel drove to the Premises on June 8, 2022, in order to ascertain whether

      activity was being conducted at ALB’s Premises. At that time, the “OPEN” sign by the

      front door was illuminated, there were a number of vehicles in the parking lot, and the

      receiving and shipping bays of the building were open for incoming and outgoing orders.

      The undersigned counsel took photographs depicting that situation, which are filed with

      this response as the following exhibits:

          a. Photograph of address marker sign for the Premises, marked as Exhibit “A” hereto;



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          b. Photograph of front door the Premises, marked as Exhibit “B” hereto, in which the

              “OPEN” sign is visible to the right of the door if the photograph is enlarged;

          c. Photograph of side door entrance to lighting showroom at the Premises, marked as

              Exhibit “C” hereto;

          d. Photograph of an open receiving bay door and open outgoing freight door at the

              Premises, marked as Exhibit “D” hereto;

          e. Photograph of an open showroom pickup door at the Premises, marked as Exhibit

              “E” hereto; and

          f. Photograph of parking lot of the Premises, marked as Exhibit “F” hereto, showing

              multiple vehicles at the Premises.

   26. Undersigned counsel performed an internet search for the term “Atlanta Light Bulbs” using

      the Google search engine on June 10, 2022. At that time, the website for ALB was one of

      the first results that came up for that search. The website’s url, or address, is:

      www.atlantalightbulbs.com The website remains functional. Undersigned counsel printed

      representative screenshots from several subpages of that website, which are filed with this

      response as the following exhibits:

          a. Homepage of the ALB website, marked as Exhibit “G” hereto, showing links to

              product offerings;

          b. About Us page of the ALB website, marked as Exhibit “H” hereto, referencing the

              family history of ALB, including references to Gary Root; and

          c. Location page of the ALB website, marked as Exhibit “I” hereto, and listing the

              same location as the Premises that undesigned counsel visited and photographed on

              June 8, 2022.



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           Each screenshot from the ALB website bears the time and date on which it was

           accessed in the upper left-hand corner of the image.



                       ARGUMENT AND CITATION OF AUTHORITIES

        Dismissal of the bankruptcy case at this early juncture is not appropriate for the following

reasons.

   I.      There are remedies other than dismissal to address Tandem Bank’s goals.

           a. Protection of collateral through cash collateral restrictions.

        Mr. Root understands that Tandem Bank seeks to protect its collateral from dissipation.

That goal can be accomplished through the bankruptcy case. For instance, Tandem Bank has

sought an order prohibiting ALB from using cash collateral. Entry of such an order, with broad

protective terms, would protect Tandem Bank. Even if ALB sells inventory to customers, cash

collateral restrictions can protect the proceeds from dissipation. See 11 U.S.C. § 363(c)(2)

(restricting use of cash collateral). If ALB’s current management flaunts such an order, a quick

contempt proceeding can be set.

           b. Protection of collateral through appointment of Chapter 11 Trustee.

        Mr. Root understands that the newly constituted unsecured creditors committee intends to

move quickly for appointment of a Chapter 11 Trustee. The appointment of such a fiduciary would

protect Tandem Bank’s collateral, without dismissal of the case.

           c. Obtaining financial information about ALB.

        If the bankruptcy case continues, the Court can compel compliance by ALB’s existing

management with the required procedures for the case to go forward, including filing Schedules,

attending a Section 341 meeting of creditors and testifying there under oath, responding to Rule



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2004 orders, and similar matters. Or, if the Court replaces current management with a Chapter 11

Trustee, a Chapter 11 Trustee would take possession of the company’s books and electronic

records, and could provide the necessary information to Tandem Bank and other creditors.

   II.      The continuation of the bankruptcy case is superior to non-bankruptcy remedies.

            a. Bankruptcy law has broader remedies, and investigative powers, than under

                state law.

         Bankruptcy law contains remedies that are at least equal to, and often broader than, state

law remedies. See, e.g., 11 U.S.C. §§ 544 (a trustee shall have the rights and powers of a judicial

lien holder), 547 (powers to avoid preferential transfers; not existing in state law), 548 (powers to

avoid fraudulent transfers, including pursuant to state law), 549 (powers to avoid post-petition

transfers; not existing in non-bankruptcy law).

         Furthermore, pursuing investigations of debtor through the bankruptcy process may have

two important benefits that do not exist in state court proceedings. One of those is that the

bankruptcy trustee takes over or controls the waiver of evidentiary privileges as to debtor’s

prepetition conduct. See CFTC v Weintraub, 471 U.S. 343 (1985). Accordingly, a trustee could

investigate what debtor’s legal counsel was requested to do pre-petition and what information

debtor shared with legal counsel pre-petition. Another significant investigative power that may

exist in the bankruptcy case, but not in state court, is the absence of an accountant-client privilege.

See In re Int'l Horizons, Inc., 14 B.R. 199, 202 (Bankr. N.D. Ga.) (“This raises the question of

what is the federal law on the subject of the accountant-client privilege. There is no

federal accountant-client privilege. Couch v. United States, 409 U.S. 322, 93 S.Ct. 611, 34 L.Ed.2d

548 (1973)”), aff'd, 16 B.R. 484 (N.D. Ga. 1981), aff'd sub nom. Matter of Int'l Horizons, Inc., 689

F.2d 996 (11th Cir. 1982). Accordingly, a trustee could investigate what information was shared



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with debtor’s accountants pre-petition. Those investigative powers may be lacking in state court

proceedings to the same extent that the powers are available in bankruptcy proceedings.

        As such, the continuation of the bankruptcy case allows utilization of powers similar to

those under non-bankruptcy law, but also those broader powers unique to bankruptcy law.

             b. Bankruptcy law provides avenues to benefit all creditors.

        In the non-bankruptcy context, the only creditor that currently stands to benefit from

pursuing ALB is Tandem Bank due to its pre-bankruptcy lien. In the bankruptcy context, other

creditors may receive some recovery. That broader recovery could arise from avoidance action

recoveries, or from proceeds derived from operating the business, or from a sale of the business as

a going concern, or some combination of such actions authorized by bankruptcy law.

             c. Bankruptcy law provides a method to realize going concern value.

        The bankruptcy process authorizes sales of assets free and clear of liens. See 11 U.S.C. §

363(f). That process has been utilized to sell the elements of a business that capture going concern

value – such as, the business’ name, its website, its customer list, its vendor list, its executory

contracts, etc.

        In this instance, ALB’s 40-year history in the industry may give substantial value to the

name, website, customer list, etc. (even after recent impairments to value, as a change of

management occurring through a Section 363 sale might alter perceptions of recent events). That

value is preserved by continuing the operations of the company, as if the website goes down, or

the company is closed, the market may perceive the loss of continuity as a reason to look

elsewhere.

        In that sense, bankruptcy law may provide an avenue to realize going concern value that is

lost if the case is dismissed and a single creditor seizes all assets.



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    III.      Debtors in involuntary cases should not be given the power to thwart the process

              by simply refusing to fulfill their obligations.

           The Motion to Dismiss is predicated, in part, on ALB’s current management refusing to

respond to a Rule 2004 order. If the Court were to dismiss the case because the debtor refused to

comply with a Court order, that would set a bad precedent whereby involuntary debtors could

avoid involuntary bankruptcy simply by refusing to fulfill their court-ordered obligations.

           There are reasons that the debtor may not be fulfilling its obligations in this involuntary

case. For instance, debtor’s management may not want the world to see what debtor’s financial

records will disclose, and management may not want to be subject to the claw-back powers that

federal bankruptcy law provides. The fact that debtor’s management is flaunting the obligations

created by the involuntary bankruptcy process provides reason to continue the case in order to

obtain answers to the questions that such misconduct raises, as well as to avoid the bad precedent

that a dismissal would set for involuntary debtors desiring to avoid involuntary bankruptcy.

           If the involuntary bankruptcy were inappropriate, the debtor had other ways to challenge

the pendency of the case. See 11 U.S.C. § 303(d) (permitting debtor to file an answer to an

involuntary petition). Debtor did not avail itself of those procedures, and has refused to abide by a

Rule 2004 order, which should not be go unremedied. Dismissal is not the proper way to address

such misconduct in this instance. 1

    IV.       Continuation of the case for at least a short time does not cause undue prejudice.

           Mr. Root understands that the unsecured creditors committee intends to file a motion

seeking appointment of a Chapter 11 Trustee in the very near future. In email communications

with chambers, the Court indicated that a hearing could be held in this case on June 21, 2022. In


1
           Dismissal might be an appropriate remedy for a situation in which a debtor seeking voluntary bankruptcy
relief is not fulfilling is obligations. In the involuntary context, dismissal could permit debtor’s improper behavior.

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this situation, there is a very recently appointed unsecured creditors committee that has indicated

an intent to take quick action, which would likely occur quicker than Tandem Bank could obtain

relief through non-bankruptcy processes. During that short time period, the Court can enter the

order restricting the use of cash collateral by ALB, without prejudice to use of cash collateral by a

Chapter 11 Trustee if later approved by the Court. Continuing the case for at least a short time is

appropriate in this context.

                                         CONCLUSION

       The Motion to Dismiss should be denied for several reasons: (i) dismissal of the case

would benefit solely Tandem Bank, whereas continuation of the case may benefit all creditors; (ii)

dismissal would also likely result in the quick cessation of all business of ALB, a company with

over four decades of experience in its industry, creating a situation whereby going concern value

is lost; (iii) Tandem Bank’s goals can be addressed through the bankruptcy case, and in various

respects the pendency of the bankruptcy case provides superior remedies to non-bankruptcy

procedures; and (iv) dismissal would reward a debtor for violating court orders and federal laws

as a way to escape obligations imposed through an involuntary case.

       This 10th day of June, 2022.
                                              Respectfully submitted,

                                              ROBL LAW GROUP LLC

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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                      )        CHAPTER 11
                                            )
ATLANTA LIGHT BULBS, INC.,                  )
                                            )        CASE NO. 22-52950-pmb
         Debtor.                            )

                                 CERTIFICATE OF SERVICE

       I hereby certify that I have on this day electronically filed the foregoing document using
the Bankruptcy Court’s Electronic Case Filing program, which sends a notice of this document
and an accompanying link to this document to the following parties who have appeared in this case
under the Bankruptcy Court’s Electronic Case Filing program, and that I served the foregoing
document by depositing a copy of the same in the United States mail with adequate postage on the
following:

   •     John C. Cannizzaro john.cannizzaro@icemiller.com
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         This 10th day of June, 2022.
                                            ROBL LAW GROUP LLC

                                            /s/ Michael Robl
                                            Michael D. Robl
                                            Georgia Bar No. 610905

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